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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    FRANKFORT DIVISION

   SUE SIMMONS,

     Plaintiff,                                      CASE NO.:

   v.

   BLUESTEM BRANDS, INC. d/b/a
   FINGERHUT.

     Defendant.
                                        /

                                        COMPLAINT

          COMES NOW, Plaintiff, Sue A. Simmons, by and through the undersigned

  counsel, and sues Defendant, Bluestem Brands, Inc. d/b/a Fingerhut (hereinafter

  “Bluestem”), and in support thereof respectfully alleges violations of the Telephone

  Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                      INTRODUCTION

             1.   The TCPA was enacted to prevent companies like Bluestem from invading

   American citizen’s privacy and to prevent abusive “robo-calls.”

             2.   “The TCPA is designed to protect individual consumers from receiving

   intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

   (2012).

             3.   “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

   *1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

   dinner at night; they force the sick and elderly out of bed; they hound us until we want to



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   rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings

   presumably intended to give telephone subscribers another option: telling the autodialers

   to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir.

   2014).

            4.       According    to   the   Federal   Communications    Commission      (FCC),

   “Unwanted calls and texts are the number one complaint to the FCC.                There are

   thousands of complaints to the FCC every month on both telemarketing and robocalls.

   The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

   Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

   Wireless       Phones,   Federal    Communications     Commission,      (May    27,   2015),

   https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                  JURISDICTION AND VENUE


             5.      Jurisdiction and venue for purposes of this action are appropriate and

   conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

   violations of the TCPA.

             6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

   this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

   district courts shall have original jurisdiction of all civil actions arising under the

   Constitution, laws, or treaties of the United States; and this action involves violations of

   47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

   and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).




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          7.      Venue is proper in this District as Plaintiff resides within this District

   (Trimble County, Kentucky), the violations described in this Complaint occurred in this

   District and the Defendant transacts business within Trimble County, Kentucky.

                                FACTUAL ALLEGATIONS

          8.      Plaintiff is a natural person, and citizen of the State of Kentucky, residing

   in Trimble County, Kentucky.

          9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

   F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

   Cir. 2014).

          10.     Defendant, Bluestem, is a corporation formed in Delaware with its

   principal place of business located at 6509 Flying Cloud Dr., Eden Prairie, MN 55344

   and which conducts business in the State of Kentucky.

          11.     Bluestem called Plaintiff approximately five hundred (500) times since

   September 1, 2015, in an attempt to collect on an alleged debt.

          12.     Upon information and belief, some or all of the calls Bluestem made to

   Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

   system” which has the capacity to store or produce telephone numbers to be called, using

   a random or sequential number generator (including but not limited to a predictive dialer)

   or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §

   227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that she knew it was an

   autodialer because of the vast number of calls she received and because she received

   prerecorded messages from Bluestem.



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            13.   Plaintiff is the regular user and carrier of the cellular telephone number

   (502) ***-5254, was also the regular user and carrier of the cellular telephone number

   (502) ***-8632 before changing numbers, and was the called party and recipient of

   Defendant’s calls.

            14.   Beginning on or about September 1, 2015, Bluestem began bombarding

   Plaintiff’s cellular telephone at the time, (502) ***-8632 (hereinafter “8632 number”), in

   an attempt to collect on an outstanding debt.

            15.   Beginning or about December, 2015, due to the tremendous amount of

   automated calls she was receiving from Bluestem, Plaintiff changed cellular telephone

   numbers to her current number of (502) ***-5254 (hereinafter “5254 number”) to avoid

   Bluestem, however after only a week or two, Bluestem began bombarding Plaintiff’s

   current cellular telephone number as well.

            16.   Shortly after the calls originally began, on or about October 2015, Plaintiff

   answered a call from Bluestem on her 8632 number and informed Bluestem’s agent that

   she wished for the calls to stop.

            17.   Bluestem’s automated calls did not abate and on or about December 2015,

   Plaintiff once again answered a call from Bluestem and reiterated her wish for the calls to

   cease.

            18.   Despite on two occasions, clearly revoking any consent Bluestem may

   have had to call her 8632 number, Bluestem continued to place an onslaught of

   automated calls to Plaintiff’s cellular telephone which prompted her to change cellular

   telephone numbers in an attempt to once and for all stop the Bluestem calls.



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           19.      Plaintiff at no point had ever provided Bluestem with her current 5254

   number to call, Bluestem never had permission or consent from the Plaintiff to be called

   at her 5254 number, and how Bluestem acquired her 5254 number is unknown to

   Plaintiff.

           20.      A week or two after changing numbers to her current 5254 number,

   Bluestem began placing automated calls to her 5254 number.

           21.      On or about January 31, 2016, at 1:35 pm, Plaintiff answered a call from

   Bluestem on her 5254 number and instructed Bluestem’s agent that she wished for the

   calls to stop.

           22.      On or about March 30, 2016, Plaintiff once more answered a call from

   Bluestem on her 5254 number and instructed Bluestem’s agent that she wished for the

   calls to stop.

           23.      Due to the length of time and tremendous amount of automated calls she

   received, Plaintiff was not able to properly catalogue each and every call, however

   attached hereto as Exhibit 1 is Plaintiff’s log of some of the calls she has received since

   January 21, 2016 to her 5254 number. All the calls listed in Exhibit 1 came from

   telephone number 844-761-0813.

           24.      As of the filing of this Complaint, Plaintiff is still receiving calls from

   Bluestem to her 5254 number.

           25.      Bluestem has a corporate policy to use an automatic telephone dialing

   system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

   cellular telephone in this case.



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           26.    Bluestem has a corporate policy to use an automatic telephone dialing

   system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

   telephone in this case, with no way for the consumer, or Bluestem, to remove the number.

           27.    Bluestem’s corporate policy is structured so as to continue to call

   individuals like Plaintiff, despite these individuals explaining to Bluestem they do not

   wish to be called.

           28.    Bluestem has numerous other federal lawsuits pending against them

   alleging similar violations as stated in this Complaint.

           29.    Bluestem has numerous complaints against it across the country asserting

   that its automatic telephone dialing system continues to call despite being requested to

   stop.

           30.    Bluestem has had numerous complaints against it from consumers across

   the country asking to not be called, however Defendant continues to call these

   individuals.

           31.    Bluestem’s corporate policy provided no means for Plaintiff to have

   Plaintiff’s number removed from Bluestem’s call list.

           32.    Bluestem has a corporate policy to harass and abuse individuals despite

   actual knowledge the called parties do not wish to be called.

           33.    Not one of Bluestem’s telephone calls placed to Plaintiff were for

   “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

           34.    Bluestem willfully and/or knowingly violated the TCPA with respect to

   Plaintiff.



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                                             COUNT I
                                      (Violation of the TCPA)

           35.     Plaintiff fully incorporates and realleges paragraphs one (1) through thirty-

   four (34) as if fully set forth herein.

           36.     Bluestem willfully violated the TCPA with respect to Plaintiff, specifically

   for each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff

   notified Bluestem that Plaintiff wished for the calls to stop

           37.     Bluestem repeatedly placed non-emergency telephone calls to Plaintiff’s

   cellular telephone using an automatic telephone dialing system or prerecorded or artificial

   voice without Plaintiff’s prior express consent in violation of federal law, including 47

   U.S.C § 227(b)(1)(A)(iii).

           WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

   triable and judgment against Bluestem for statutory damages, punitive damages, actual

   damages, treble damages, enjoinder from further violations of these parts and any other

   such relief the court may deem just and proper.

                                                  Respectfully submitted,

                                                     /s/ Andrea Wasson________________
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